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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

______________________________________________________________________________

 DAN PROFT and                        )
 LIBERTY PRINCIPLES PAC,              )
                                      ) No. 18 CV 4947
             Plaintiffs,              )
                                      ) Judge Virginia Kendall
       v.                             )
                                      )
 LISA MADIGAN et al., ,               )
                                      )
             Defendants.              )
______________________________________________________________________________


            DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
                TO FILE REPLY IN SUPPORT OF MOTION TO DISMISS

       Defendants Lisa Madigan, Attorney General of Illinois; and the members of the Illinois

Board of Elections, by their attorney, Lisa Madigan, Attorney General of Illinois, respectfully

move for a three-day extension of time (until September 27, 2018) to file their reply in further

support of their motion to dismiss. In support of this motion, Defendants state as follows:

       1.        Plaintiffs filed a motion for preliminary injunction on August 9, 2018. Dkt. 12.

On September 10, 2018, Defendants filed a motion to dismiss as well as a response to Plaintiffs’

preliminary injunction motion. Dkt. 18, 19. Plaintiffs filed a combined response to Defendants’

motion to dismiss and reply in support of their preliminary injunction motion on September 17,

2018. Dkt. 25.

       2.        Defendants’ reply in support of their motion to dismiss is currently due September

24, 2018. Dkt. 16. Oral argument is set for October 9, 2018 at 10 a.m. Id.




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       3.      Defendants’ counsel has an extremely heavy case load at this time. Defendants

request three additional days so that agency counsel has sufficient time to review and comment

on the reply. Plaintiffs will not be prejudiced by this delay, as it will not affect the oral argument

set for October 9. Accordingly, Defendants request that the Court extend their deadline to file a

reply in support of their motion to dismiss by three days, to September 27, 2018.

       4.      This is the Defendants’ first request for an extension of this deadline. Plaintiffs’

counsel does not object to the request as long as the date of the oral argument is not affected.



       Wherefore, Defendants respectfully request that the Court grant their motion to extend

their deadline to file a reply in support of their motion to dismiss to September 27, 2018.

                                                       Respectfully submitted,

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